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Minutes of Proceedings
3:15-cv-00499-MMD-WGC
Mizzoni v. State of Nevada ex rel
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United States D

District of

Notice of Electronic Filing |

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The following transaction was entered on 12/6/2016 at :

Case Name: Mizzoni v. State of Nevada ex rel:
Case Number: 3:15-cv-00499-MMD-WGC

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Docket Text:

MINUTES OF PROCEEDINGS - Early Mediation:
Mediator Courtney O'Mara, Esq. Crtrm Admini
Joseph L. Mizzoni, Pro Se (via video); Def Cou
Recording start and end times: 2:32:31 p.m. -
p.m.; Courtroom: 2.

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1st mediation session. A settlement was NOT 1
mediation is SEALED.

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An early mediation program questionnaire. “TH
Plaintiff along with a copy of these minutes. T

returned to Judicial Assistant, at 400 South Vir
within thirty (30) days. DO NOT FILE THE QUES
attached) (Copies have been distributed purs

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Erin L. Albright _ealbright@ag.nv.gov, kheald@ag.nv
3:15-cv-00499-MMD-WGC Notice has been delivere
C. Smith

30 Foveaux Street

Surry Hills, NSW 2010

Joseph L. Mizzoni

 

 

 

 

 

 

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